                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION


UNITED STATES OF AMERICA                  )      DOCKET NO. 3:92CR155-W
                                          )
              vs.                         )      ORDER TO WITHDRAW
                                          )       WARRANT ISSUED
(3) JAMES FRANK DINSIO                    )


       THIS MATTER is before the Court on the Government’s Motion to Dismiss SRV and

Withdraw Motion (Doc. No. 12). For the reasons stated in the motion, the Motion is GRANTED.

The warrant for arrest issued in the above-captioned matter concerning (3) JAMES FRANK

DINSIO is hereby WITHDRAWN and this matter is DISMISSED.

       IT IS SO ORDERED.

                                              Signed: March 24, 2008




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